         Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 1 of 54 PageID #:44

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         Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 2 of 54 PageID #:45

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     Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 3 of 54 PageID #:46

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        Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 4 of 54 PageID #:47

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      Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 5 of 54 PageID #:48
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         Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 7 of 54 PageID #:50

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        Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 8 of 54 PageID #:51

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            Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 9 of 54 PageID #:52

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               Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 10 of 54 PageID #:53


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                NATURE OF GRIEVANCE:

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              'El    Check onty i, this is an EMERGENCY griovance                to a substantlal risk ol imminent p€rsonal iniury or other sorious or ineparable harm lo sell



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                                                                                (Cortlnr   oo   rEo    .ldo l,     molrry)

                                                                             Counselor's Besponse (l, applcsbto)
              Dste
              Rsceived:'               /             /               E   Send dir€ctly to Grievance       ollicer            !   oursioe lurisdiction ol lhis lacility. send to
                                                                                                                                 Administraliv€ Feview Board, p.O. Box 19277,
                                                                                                                                 Springlield, tL 6Z7U-SZ7T
              Response:




                                                                                                                                                                          ll
                                                                                                                       lqnsErs     tirgEtura                             Dat6 ol Rsspmss



                                                                                    EMERGENCY FEVIEW
             Oate
             Boceived:                  I                            ls lhis determined to be of an emergency          nature?    fl    yes; expadite emergency grisvance
                                                                                                                                                                                       .


                                                                                                                                  E    No; an emergency is not srrbshnfiated.
                                                                                                                                  Otlilder shoul, submit lhis grisvanco
                                                                                                                                  in the nomal manner.




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                 Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 14 of 54 PageID #:57
                                                           ILLINOTS DEPARTMENT OF CORRECTIONS


                                                        Administrative Review Board       ,                             \L
                                                   Return of Grievance or correspono"n""t                             u
                                                                                                                               %.
                                                                       Dennis                                                       R68729
offender: Taylor                                                                   First Name                                         tD#




Facility


E   Grievance: Facitity Grievance #           appricabre) 908 not   provided    Dated:          218/16 Correspondence Dated:
                                        (if
                                                                                          -
Received: --il23ll6                                 Regarding:   Ranrrests PC



The attaclred grievance or correspondence is being returned for the following reasons:

Additional information required:
    tr     Provide a copy of your Counselor's response'

    tr     provide a copy of the Response to offender's Grievance, DoC 0047, includino the Grievance officer's and Chief Administrative
           Officer's resPonse. to aDPeal.
    n      Provide dates of disciplinary reports and facility where incidents occurred,
           Unable to determine nature of grievance or correspondence; submit additional specific
                                                                                                  information. Please return the aftached
    tr                                                                  requested to: Administrative  Review Board
           grievance or correspondenc" ilitn the additional information
                                                                                      Office of lnmate lssues
                                                                                      1301 Concordia Court
                                                                                      Springfield,             lL
                                                                                                        62794-9277


Misdirected:
    E      Contact your correctional counselor reoardino issue"
                                                                                          lf the request is denied by the facility, utilize the
    tr     Request restoration of statutory sentence credits to Adjustment.committee.
           offender grievance process outlined  in Department  Rule 504 for further consideration.

    n      Contact the Record Office with your request or to provide additional information.

    tr     personal propefi issues are to be reviewed at your current facility prior to review by the Administrative Review Board'

    n      Address concerns    to: lllinois Prisoner     Review Board
                                   319 E. Madison St., Suite A
                                   Springfield, lL 62706


 No further redress:
                                                                                    decisions; lherefore, this issue will not be addressed
     f]    A.warc of Supplemental Sentence Credits are discretionary administrative
           further.
           Not submitted in the timeframe ouflined in Department Rule 504; therefore.
                                                                                      this issue will not be addressed further'
     tr
     nmlsofficepreviouslyaddressedthisissueon_
     X     No justification provided for additional consideration'




 Completed bY:        I eslie McCartv


                                                                                                                                DOC 0070 (Rev.4/201 3)
 Distribution: Offender
               lnmate lssues
                                                                                -Y'r/";
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Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 15 of 54 PageID #:58

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                                Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 16 of 54 PageID #:59



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    Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 17 of 54 PageID #:60




                                           ILLTNOTS DEPARTT{ENT OF CORRECT'IONS
                                       ,I{-EARING OF ADI\{iNISTR.{TI\TE RE\'IE\l' BO.{RD



          DATE OF H.EA-RI;\6: APril 10.             l0l6

          INSTJTL|TION: Stateville Correctional             Center'
                                                                                       /
          GRIEI:4.NT NA.rtfE: Dennis Ta1'lor. Register No'        R68?29 X ' V [c 'Dtr
                                                                                                     Ofiice of
          BO.ARD    tfElt[BERS PBESENf: Sarah .lol.llrson. Administratile Revieu, Boffd Chairperson.
          Irrnrale Issues. Departrnent     oJ'   Corrections'

                           personall), iniervieled b-v the Aclministrativu Revierv Board. All inl'ormarion subnritted
                                                                                                                           to
          Criei,ant
                      tt
                    'i.a-s
                           ihe Crierlant. and  the instinrtion related to t.]:e issue being grieted, rtas revielved. lSsue-r
          t5e Board
                                            r
          *,an.anting fitrther action consideration rvere discussed u'ith rhe Statevilie Con'ecrional
                                                                                                                     Clenlr':r

          adrninisration.

          Nature cf Grievance: InmaieTal'lor is grier,ing deniai of ProtectiYe custodl'.

          Firrdings: The Board notes the inmare is cuffentll'selving a Lile sentence lbr Murder. 38 1'ears
                                                                                                           lbr
                                                                                               3-;" l00ti.
          Aggqrar:ated Unlarrfirl Restraitrt. Recorils rel'lect an adrnission dare of Februal'

          Crievalr has been housed ar the Suteville Ctrrrecrional Ccnter since Februarl 15. ?008. No affiliation
          *rthSTGisnoted. Thegrier;authasoneoffenderlistedaskeepseparatefronlatStateville.
          The Board rer,.ierved the Protective Custodl' Status sheet datecl Jauuary 6, 2016. Grievant requesteci
          prcrrective Custody suting: "l ,lvas in an argument rvitb url'cellntate, Peoples, rvhen he called nre a hitch
          then I told hin 6e rvas aciing like a hitch. He took his disconnected fan motor and put it in a
                                                                                                           pillor,'case
          urd hit rne on the head seveial tirnes. 1 attempted to grab the pillou' case so he u'ould not hit me sgain-
          and he struck me again on the head. I felt the deep cuts on my-, head and told hirn I needed to
                                                                                                              go to the
          6ospital and I rvas goingto report itto rhe officials. He told me if I did ire was goingro have his ntoh put
          ahitonnre. Ir.r'asrushedtotheoutside[:ospital andirad38staplesputinntl"lread'"
          in           i,,irh DR50l, Stateville Correctior:al Center conducled a reYiew of the offender's PC
               acecirdar:ce
          iequesr. Upon completion of the revierv it lvas recommended io ${rich the CAO concuneci u'i1h tli€
          clenial for Proleqive Custod.v placemenl on Februar)'24,2016-

           lnmaie.s slatement to ARB: ln Nor.ember, 2015 he tnd his cellie argued and he rvas assaulted b!
           Offender peoples. Offender Peoples said he rvould tell his "nrob" to pul a hit on him if he told tvhal
           hlppened. He (Peoples) rold him to saJ.' he f'ell and he did. After being piaced in the hospital. he r'r'as
           placed in se,qregation and receir.ed a ticket. Later hjs ticket was expunged. Hro states Esteel in F hotrse
           i61l him ruhire ever he (Ta1'lor) goes can-1, out a hit on him. He stated u'hile in ihe healthcare unit Spree
           told him "rve got somelhing fbr you u4ren )'ou get to general poptllation".

           T'his oft]ce notes Oi:fender Peoples is on Offender Tar,lor's keep separate fi'om li.sr. Tlte,re              is   ntr
           rrerification to indicate an additional issue.

           R.ecommendations: Based on a revieu, of all information, it is rhe opinion of the Board that there is not
           sufficient infonration to \\,arrant the offender's retention in Protective Custody and therel'ore should be
           lcleasedtogeueralpopulation.                                   , ,.           ,      ;, i
                                                    FoRTHEBzARD,                      !--t:' ..;,i !'t !!i-'"v. --'
                                                                      Silralr"=='i!'.!;
                                                                              .lohnsi:n
                                                                      .Adirinistrznive Review Board Chairpelson
                                                                      Office of Inrnate issues-


                                                    CONCURRED:
                                                                      John R. Baldwin




                  \thrden, Stateville Correctional Center
                  Dennis    Ta1,   lor, Register No. R687 29




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Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 18 of 54 PageID #:61
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Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 20 of 54 PageID #:63
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                                                                             OFFENDER'SGRIEVANCE /                                  V Vg




               NATURE OF GRIEVANCE:

                        Personal Properly           tr Mail Handling El Rostoralion ol Good Time
                        StallConducl                tr Oiolary            fl Medical Tr6alm6nl
                        Transrer Denial by Faciliiy tr Translor O€nial by Transler Coordinalor




                       Nols:       Proteclive Custody Denials may be gJieved immodlately via the localadminrstration on lhe prolective custody stalus notilicalion.

               Complale: Attlch ! copy ol lny pattln€nl atocumant (twh .t . Olclpllmry n porr, stut.doun Bcord,.tc.) lnd aend lo:
                     Counaalor, mlo53 th6 bsuo involves disciplrne, is de€rned an ernsrgsncy, or b subiect lo direcl revi€w by lhe Admin6trative Fleview Boad.
                     Grlevancc Ofllccr, only !l th€-bsueioEhas diGciplina al iha prast lacility o. i-s,s@ rcl ,estvod by Couselor.
                        Chl.l Admlnl3tr.llw Otlla.r, only i, EXEFGENCY griovancs.
                        ArlmlnlltaltlYa Ravlaw 8orrd, only ir lha issE involves translor dsnhl by ths Traffiler Coordimlor, prolecliva cuslody, involuntary
                        administration ol poychotropic t!rugs, issus lrom anolhor tacility erept p€rsonal property issues, or issuBs nol resolved by lhe Chiel
                        Adnnistrative Ollicar.
         F     Summary o, Grlcvanci (Prevld.         lnrmtlon   lEtuding r dGc.lpuon ol wh.l hrpp.rldr   rion




              iI(check      only il this is an EIIEFGENCY grievame due to a Bubstantiat risk ol imminant personal-iniury or

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                                                                      Counselor's Besponee (r lppttc.bto)
              Dale
              Beceived:               I          I               E   Send directly lo Grievance   otlicer          I   oursirle lurisdiclion ol this lacility. send to
                                                                                                                       Adlninistrativa Raviow Board, p.O. Box 1927t,
                                                                                                                       Springf istd. tL 627 94 -92t?
              Response:




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                                                                                      to be ol an eanergency nature?




             D,9rrh[lioa Masler Ftle: Ottender
                                                                                                                                                         DOC 00.16 18/20'2)
                      Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 21 of 54 PageID #:64
                                        lLLNots DEp^FTxEilr or ColrFEcnoHs
                                     OFFENDER't GRIEVANCE (continued)




                                                                             DCIC   @16l8/?0l2l
Dislrihulion Masler Fllc: Oll€nder
          Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 22 of 54 PageID #:65
Bruce...Raune.r                                                                                         .John Baldwin
  Governor                                                                                              Acting Director




                                     The !llinois Department of Gorrections
                                               Stateville Correctional Center
                    Route 53, P.O. Box 1'12 . Joliet,lL 60434 . (815) 727 -3601 TDD: (800) 526-0844


      June 14,2016

      lnmate: Dennis Taylor- R68729- X-UW-07
      RE: tnmate lssues- P.C

      Dear Mr. Taylor:

      Your recent correspondence to the Directo/s Office regarding several issues or concerns
      has been forwarded to me for response. Your concerns have been reviewed and referred
      to the appropriate individuals for resolution.

      The safety and security of offenders, staff and the general public is of utmost importance
      to everyone within the department. Therefore policies and procedures have been
      implemented with that goal in mind.

     You currently are celled in Protective Custody and awaiting the decision of the
     Administrative Review Board as to whether a verifiable need exists for you to remain in
     PC status. Please continue to follow the 504 procedure with regard to this matter.

      I trust   this is responsive to your request.
                                                                  Sincerely




                                                                           Pfister

     RP/jal




              Mission: To serue justice in lllinois and increase public safety by promoting positive change in
                 offender behavior, operating successfu/reentry programs, and reducing victimization.

                                                   www.ilinois.gov/idoc
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ll
                   Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 23 of 54 PageID #:66
                                                                                            I




                                                                        .
                                                                            ILLINOIS DEPARTMENT OF CORRECTIONS


                                                                  Administrative Review Board
                                                             Return. of Grievance or Correspondence



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       EI Grlevance:        Facllltv GTlevance   *   (n appncaa@ //X)llhb?                      Daled:                                       Correspondence:   Daled:


      **r."* ,(,Q :, Resardrng:- 7 e:4
      The attached grlevance or correspondence ls belng returned for the following
                                                                                   reasons:                                                                             (r/t /:.
      Addltional lnformatlon required:
          tr     provlde a copy of your written Offender's Grievance, DOC 0046, lncludlng the counselor's response, lf appllcable.

          tr     provide a copy of the Response to Offendeds Grlevance, DOC'0047, lncludlnq the Grievance Offlce/s and Chtef Admlnlstratlve
                 Offlcefs resoonse. to aPDeal'
         E       Provlde datos of dlsciPllnary reports and facillty where incldents occured'
         tr     Unable to determlne nature of grlevance or correspondenco; eubmlt additlonal speclflc lnformatlon. Please return the attached
                grlevance or colrespondence wlth the addltlonal informatlon requestgd to: Adminlstratlve Revlew Boqrd
                                                                                          Office of lnmate lssues
                                                                                          1301 Concordia Court
                                                                                          Sprlngfleld, lL 62754-5277


     Mlsdlrected:
         tr     Contact your correctlonal counselor regardlng thle lssue'
                                                                                                         ls denled by the faclllty, utillze the
         tr     Request restoralon of Statutory Sentence Oredlte to AdJudm-ent Commlttee, lf the request
                o*"h.l.r grtevance process outilned ln Department                    Rule 604 for further consideratlon.

        5      Contact the Record Offlce wlth your request or to provlde addltlonal information.
        tr     personal property lesues are to be revlewed at your cunent facfllty prlor lo revlew by the Adminlstrative Revlew Board.

        tr     Address concerns        to:   llllnole Prlsoner Revlew Board
                                             319 E. Madlson St., Sulte A
                                             Sprlngfleld, lL 62700


     No further redress:
                                                                                     declslons; therefore, thls issue wlll not be addreesed
        E   Award of Supplemental Sentence Credlts are dlscretionary admlnlstratlve
            further,
                                                                  Rulo 604; therefgre. thie lssug vYlll not bE addreqsed further'
       t]   Not submltted ln the timeframe outllned ln Department
       tr      This office prevlously addressed thls les0e on

       tr      No Justiflcatlon proYld"d forcddltion'l




                                                                            -'

                                                                                                                 Poilto-./MrEanht
 Completed        by:   Leslle McCartv--.-.      ----                                                            ,       Elgnaltre


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Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 24 of 54 PageID #:67
                                                                                                                                                                )
                                                                             OFFENDER'S GRIEVANCE

              o""5/ I /20/6

              NATURE OF GRIEVANCE:

                 I    Personal Properly                          Mail   Handling E            Restoralion ol Good         Time E           ADA Disability Accommodation
                 E    starlconduct                                                     E      Medical Tr€atm€nl
                 E    Transler Denial by Facilily               Transler Denial by Transler Coordinator


                                                                                                                                     wh6ro ios@d

                      Noi6:     Proleclive Custody Oenbls may b€ grievsd immsdEtely via th€ local adminrst}aton on the prol€clive cuslody 6tatus notilacation.

              Complalo: Attrch a copy ol lny poillnant documant (r$h         rt r OlElpIilry n port, th.f.dom B.cord, .lc.) 8nd l.nd to:
                      Coun..lor, unl6$ tho isstt€ involv€s discipline, is daernad an ernergency, or b 8ubi6t lo dirocl roviow by lhe Administrativs Rsview Board.
                      Grlornc. Onlcar, only il ih€ bsue hrclves dieiplkB al lhe pres€nt ,acility or isau6 not r€solved by Coutslor.
                      ChLl Admlnl.tEtly. Ofllc.., only tl EIEBGENCY gnievance.
                      Admlnl3trallva Acvl.w Board, mly il lhe isaue involves Uanster d9nial by lha Transler Coordinalor, p.otsclive cGlody, involmlary
                      adminisiration ol Fychoiropb drugs, issuos lrom anoth€r lacility excspt personal property issues, or issuos not resolved by lhe Chiel
                      Admnistralive Ollicer.

              Summary o, Grlovanco (Provld. lnlolmllon lBlsditrg r d.erlplion ol wh.l hrpp.md, rh.n rnd                  rh.r. ll Mpp.md,   rnd lh. mmr      s ld.nrllyi.{   lnlormation




              E(   Chtrk only il   thrs rs an   EIIERG9CY grievance dua      to a substantial risk ot imminent      persnal   iniury or other   s€noc   or ireparabt€   ham    to sell




                                                                            (Conlin[   on   nErE tldr    ll   n.cu.ry]


                                                                   I    Counaelor'eBesponEc(t appucarb)                                                                 ir
             Date
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             Roceived:                                            osenddirec,ryroGri€vanceoric€r                         tr ?ffililTli.J#,"tr4tHfr#ilRvri
                                                                                                                                    L
                                                                                                                            Springfield,        A2794-9277
             Besponse:




                                         Ptrnl C@n$toa s   Name                                                    Coun$lg/s Sigmlu.6


                                                                              EUERGENCY HEVIEW
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Bruce Rauner                                                                                          John Baldwin
  Governor                                                                                           Acting Director




                                  The lllinois Department of Corrections

    1301 Concordia Court, P"O. Box 19277. Springfield, |L62794-9277        '(217\ 558-2200 TDD: (800)526-0844
                                                         June 15, 2016




                                          X- u\J -c J
        Dennis Taylor
        Register No. R68729
        Statevitle Correctional Center

        Dear Mr. Taylor:

        This is in response to your recent request for Protective Custi.rdy placement. ln accordance with DR501D,
        the Stateville Correctional Center administration notified you your request for protective custody was denied
        May 12,2016. This office has determined the issue will be addressed without a formal hearing.

        Prior reviews have been conducted by the Administrative Review Board relative to the denial of protective
        custody placementwhile at the Stateville Correctional Center. The Director denied the requests for
        protective custody placement each time.

        ln your recent request dated May 2,2016, you state on 11127115 you were assaulted by your cellmate
        Peoples K51695. You state Peoples threatened that if you told the police he would have his mob (GD's)hit
        you. This is essentially the same reason as in the past requests; which was not confirmed.

        ln reviewing all the materials as well as information provided by the Stateville Correctional Center, I find no
        new informltion which would warrant a reconsideration of the past Administrative Review Board hearings.

        There is no information to support the allegation of safety concerns. Offender Taylor has spent less than 30
        days in general population since his last protective custody review April 20, 2016 as Offender signs back in
        upon release with no additional concerns or information being provided.

        Therefore, this office recommends Offender Taylor request for Protective Custody placement be denied and
        he be returned to general population.


                                          FOR THE BOARD:

                                                                 Administrative Review Board
                                                                 Office of lnmate lssues




                                          CONCURR

                                                                         Acting Director

        cc:    Warden, Stateville Correctional Center
               Taylor, Dennis Register No. R68729




          Mission: To serve justice in lllinois and increase public safety by promoting positive change in
             offender behavior, operating successful reentry programs, and reducing victimization.
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                                                         Administrative Review Board
                                                    Return of Grievance or Correspondence



Offender:


Facility:


I    Grievance: Facility Grievance #    (if applicable)                                                or   f,   Correspondence: oateo:

                                 Regarding:



The aftached grievance or correspondence is being returned for the following reasons:

Additional information required:
     tr     Provide a copy of your written Offender's Grievance, DOC 0046, including the counselor's response, if applicable.

     tr     Provide a copy of the Response to Offender's Grievance, DOC 0047, includinq the Grievance Officer's and Chief Administrative
            Offcer's response. to appeal. lF TIMELY
     tr     Provide dates of disciplinary reports and facility where incidents occuned.

     tr     Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached
            grievance or conespondence with the additional information requested to: Administrative Review Board
                                                                                      Offce of lnmate lssues
                                                                                      1301 Concordia Court
                                                                                      Springfield,     62794-9277lL
Misdirected:
     tr     Contact your correctional counselor regarding this issue.

     tr     Request restoration of Statutory Sentence Credits to Adjustment Committee. lf the request is denied by the facility, utilize the
            offender grievance process ouflined in Department Rule 504 for further consideration.

     tr     Contact the Record Office with your request or to provide additional information.

     tr     Personal property issues are to be reviewed at your current facility prior to review by the Administrative Review Board.

     tr     Address concerns    to: lllinois Prisoner      Review Board
                                    319 E. Madison St., Suite A
                                    Springfield,      lL   62706


No further redress:
     tr     Award of Supplemental Sentence Credits are discretionary administrative decisions; therefore, this issue will not be addressed
            further.
       /l
                 submitted in the timeframe outlined in Department Rule 504; therefore. this issue will not be addressed further.
    )(|*
    "A      This office previously addressed this issue on         ------.
      tr    No justification provided for additional consideration.




Completed       by:    Leslie McCartv


Distribution: Offender                                                Printed on Recycled Paper                                    DOC 0070 (Rev.4/2013)
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                                        ILUiloTS   oPcoiRlcflol'la
                                     OFFENDER'S




                                                                             DOC 0046   (Rw, 92005)
Dslrlbuuon   lruta   F[€; Ofandar
Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 40 of 54 PageID #:83


                  d                           -_L.LINOIS
                                                                  DEPARTMENT
                                                                    OF CORRECTIONS
                                              IIEARING OF ADMIMSTRATTVE                    G\[EW ffiARD
                                                                   VIDEO CONFERENCE


                DATE OFHEA,RITTr'G: August l5,2Ot6

                INSTITWION:        Stateville Correctional Center, Crest
                                                                         Hill, illinois
                GRIEVAI\ry   NAME: Dennis Taylor,       Register No. R68729

                                                       sherry Benton, Administrative Review Board
                f"?:Yryr:K:*yrj*::fl1'                                                            chairperson, office or rnmate

                Grievant was personally interviewed   by the Administrative Review Board.
                by the Grievant' and the institution ."r""a ,"                              AII information submitted to the Board
                                                                 i-"'irsue,being g.i"u"a, ;ur-."ri"*"a. Issues
                action / consideration were discussed with                                                     warranting further
                                                           theitateville comectional center adminrstratron.
               Nature of Grievance: offender Tayror is grieving
                                                                deniar of protective custody.

               Findings: The Board notes the offender is
                                                           currently serving        a.   Life   sentence (Direct   From court 2l25l0g). Tlte
               Grievant has been housed at Stateville Co.r""ti;;i;;nter
                                                                               ever since.
               An affiliation with an srG is not noted. The
                                                            Board notes Grievant has decrared trre following
                                      Peopres Ksr6es. L" c.;;;;;il", u""n                                    enemies currentry at
               8::ffi[;ocJlfi"ilX                                            a".r,,,a            *;;;;;y
                                                                                                    (cu*entry incarcerated within

               The Board reviewed the Protective     custo^,.d1   vote sheet. crievant
                                                                      requested                      protectivc
                                                                                      custody placernent, stating
               thefollowing(insummary): onJune:0"',*nir"roringfromr.c$!cr<out),someG.D.,stordmethatifrdid,,t
               sign my ass back in' that I was a dead *"n'
                                                           rt,"       r"-rot" rationale irai."t*ii" r,,rncient verifiable information
               warrant continued protective Custody pracement.                                                                        to
                                                                     The  cAo             on.iriy'ii,'i0rc.
                                                                                "on"rrrJ
              offender's statement to ARB: You. should have copies
                                                                             of my affidavits. Everything
                                                                                                      that,s stated i, there is my
              statement' I just had threats yesterday. lf I come             pc,("v *irie";',;;.;Hr" referto
                                                                 o,,t of                                      my afiidavits for a,
              questions. This ofice reviewed Taylo;b afrdavits.

              This office contacted Stateville Intel Staffregarding
                                                                    Taylor,s claims.
              Recommendations: Based on a total review
                                                            of all available information, it is the opinion of the Board
              Grievant has nol provided suf,ficient verifiable                                                             that the
                                                                 information to *uroni ilr" or"na"r,, retention
              custody, and therefore' should be placed back inJ                                                      in protective
                                                                    gen".ut population. w1,ii"     stut"uille, warden is to ensure
              Taylor is kept separate from his deciared enemies.                                "i

                                               FoR rHE      B,AW:          S hatr*4 Bo^fn^--'
                                                                        Sherry Benton
                                                                       Admin istrative Review Board Chairperson
                                                                       Office of Inmate Issues




                                              CONCURRED:
                                                                       John R. Baldwin
                                                                       Acting Director


                   Warden, Stateville Correctional Center
                  Dennis Taylor, Register No. R68729




                                                                      fi,x-hdlrY                                   (-)
"p      Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 41 of 54 PageID #:84

Bru'ce Rar-fner                                                                                            John Baldwin
  Governor                                                                                                Acting Director




                                     The lllinois Department of Corrections
     1301 Concordia Court, P.O. Box 19277. Springfield, lL62794-9277 . (217) 558-2200 TDD: (800)526-0844
                                                    November 1, 2016


 Dennis Taylor
 Register No. R68729
 Stateville Correctional Center

  Dear Mr. Taylor:
                                   X- L{           u.t   - oZ
 This is in response to your recent request, and subsequent denial, for Protective Custody placement. This office
  has determined the issue will be addressed without a formal hearing.

  ln accordance with DR 501D, on September 27,2016, the Administration of Stateville Conectional Center notified
  you that your request for protective custody (PC) was denied; for which you chose to grieve.

  This Board has reviewed your PC requests on the following dates: April20, 2016, June 15, 2016 and August 15,
  2016. Upon review,the Directordenied each of these requests. During each of these reviews, yourrationalefor
  needing PC is centered around an altercation you had November 17,2015 with Offender Peoples. Since January
  4, 2016, Offender Peoples has been listed as your declared KSF.

  ln reviewing the past Hearing information, as well as current information provided by Stateville, this office finds no
  reason to reverse past decisions; as the reason for your PC request has not changed.

  Based on a total review of all available information, it is the opinion of this office that the request for PC be denied
  and Taylor is to be placed back into General Population.




                                    FORTHEBOARD:
                                                          r\|.'Leruru''r\ B u'x*'tP "--'-
                                                            Sherry Benton
                                                            Administrative Review Board
                                                            Office of lnmate lssues




                                    CONCURRED:

                                                                  Acting Director

  cc:   Warden, Stateville Correctional Center
        Dennis Taylor, Register No. R68729




             Mission: To serue iustice in lllinois and increase public safeg by promoting positive change in
                offender behavior, operatrng successful reentry programs, and reducing victimization.

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               Case: 1:17-cv-00441 Document #:DEPARTMENT
                                               9 Filed: 01/19/17
                                                              OFPage 42 of 54 PageID #:85
                        STATE OF ILLINOIS -                      CORRECTIONS
                                                        ADJUSTMENT COMMITTEE
                                                        FTNAL SUMMARY REPORT

                                                                 IDOC Number: H68729                                     Race: BLK
             Name: TAYLOR, DENNIS
                                                                  "   Living Unit: STA-F-02-04             Orientation Status: N/A
Hearing Date/Time: 112812016 12:00 PM
 lncident Number: 201600323/1 - STA                                       Status: ExPunged Final
                                             lncident Officer                    Location                                Time
                Ticket #
                                             SAPIA, LOUISA                        F-HOUSE BULL PEN                        08:15 PM
 1112712015 201600323/1-STA

   Offense                        Violation                                                        Final Result

   301                            Fighting
                                                    TE PEOPLEi

                                 Witness lD              Witness Name                            Witness Status
    Witness Type

No Witness Requested

RECORD OF PROCEEDINGS
                                                                                  guilty and states he went to lA because he
 lnmate Taylor R6g729 present and DR read. lnmate Taylor R68729.pleads not
 was assaulted   and felt ni" 1i" *i" i" danger. He never 6igneo a statbment  which said that he and his cellmate had an
              peoples  struck nim with a fanhotor. Peoples-threatened   him  by saying  if he told about the assault he would
 altercation.
 have someone    get him.



BASTS FOR DECISION
                                                                                 11127t2o15 for a laceration to the head'
 Medical records verify inmate Taylor R68729 was sent to the outside hospital on


DISCIPLINARY ACTION                 (Consecutive to any piors)

                     RECOMMENDED                                                                           FINAL
                                                                              --.EXPUNGED_
  Basis for DisciPline:


    Hearing Committee
                                                                                                                   01128116          BLK
    BEST, CHARLES          F   - Chair Person
                                                                                                                       Date          Bace
                                                                                                                   01128116          BLK
    HARRIS, CYNTHIA
                                                                                                                       Date          Race

     Recommended Action APProved


 Final Comments:           N/A




 RANDY S PFISTER / NRL 1/2912016



                           the right to appeal an adverse decision through the grievance

                                                                                     ?


Run Date: 112912016 14126t55                                 Page 1 of    1                                   j*   r     j;!^-
                  Case: 1:17-cv-00441
                          STATE OF ILLINOIS - DEPARTMENT
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                                                                OF CORRECTIONS

          "/:!                                              ADJUSTMENT COMMITTEE
                                                            FINAL SUMMARY REPORT

              Namel IAYLOH, DENNIS                                   IDOC Number: R68729                                                    Race: BLK
                                                                                                lrbl&
Hearing Date/Time: 1111712015 09:37 AM                                 Living unit;$ftr Pf,t=gf                            Orientation Status: N/A,     I

  lncident Number: 201503299/1 - STA                                         Status: Final
                 Ticket #                         Incident Officer                 Location                                                Time

 111512015       201503299/1-STA                  PARKER, YHHYNEST E               INMATE COMMISSARY                                        02:00 PM

    Otfense                          Violation                                                            Final Result
    102                              Assaulting Any Person - Staff                                        Guilty
                                     Comments:HlTC/O'S HAND
    304                               Insolence                                                           Guilty

    305                              Theft                                                                Guilty

   403                                Disobeying A Direct Order                                           Guilty

     Witness Type                    Witness lD              Witness Name                               Witness Status

 No Witness Requested

 RECORD OF PROCEEDINGS
 lnmate Taylor R68729 present and DR read. Taylor R68729 pleads not guilty. Taylor R68729 says this stems from 3
 months ago. Taylor R68729 says he shook me down and lelt my reading glasses. I told him I wasn't going to strip in front
 of women. I did walk away to be closer to the other people. This was all planned by the C/O I didn't have a candy bar was
 found on me.


 BASIS FOR DECISION
 H/O started that while he was conducting a shakedown on lnmate Taylor R68729, and felt a hard ilem inside lnmate
 Taylor waist band.
 F/O asked Taylor R68729 to remove the item from his waistband and Taylor R68729 replied, "what are you talking abo.ut?"
 F/O then tried to proceed with shakedown when inmate Taylor R68729 smacked the F/Os hand and stated, "what the luck
 are you dong?"
 lnmate Taylor was told not to move and he proceded to walk away towards the docking area of the commissary.
 Lt was notified and then told lnmate Taylor R68729 to remove whatever was in his waistband, Taylor R68729 stated, "l
 ainjt got shit." lnmate Taylor R68729 then proceeded to run.
 H/O retrieved 2 chocolate candy bars and Ambi face cream.
 lnmate Taylor R68729 was identified by his stae issued id.
 The committee is satisfie dthat inamte Taylor R68729 did in lact violate the charges cited.


 DISCIPLINARY ACTION (Consecutive to any piors)
                       RECOMMENDED                                                                                         F!NAL
  3 Months C Grade                                                                3 Months C Grade
  3 Months Segregation                                                            3 Months Segregation
   3 Months Commissary Restriction                                                3 Months Commissary Restriction
   6 Months Contact Visits Restriction                                            6 Months Contact Visits Restriction
   Basis for Discipline:NATURE OFFENSE

    Signatures
    Hearing Committee
    JACOB, EDWARD - Chair Person                                                                                                       11117115        BLK
                                                                                                                                                       Hace

                                                                                                         +
                                                                                                                                         Date

    SANDERS, SYTERA L                                                                                                                  11117115        BLK
                                                                                    Signature
     Recommended Action Approved


                                                                                            &-..               I            .r
Run Date: 1111912015   11   :36:02                             Page 1 ot 2                 i,
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                                                                                                                                   I
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                                             - DEPARTMENT           Page 44 of 54 PageID #:87
                                                                OF CORRECTIONS
                                                        ADJUSTMENT COMMITTEE
                                                        FINAL SUMMARY REPORT

              Name: TAYLOR, DENNIS'                              IDOC Number: R68729,
                                                                                                         !'               Race: BLK
 Hearing Date/Tiine   11   t17t2015 09:37 AM                        Living Unit:'STA-F-01-54             .'   Orientation Status: N/A
   lncident Number: 201503299/1 - STA                                       Status: Final
 Final Comments:           N/A




  RANDY S PFISTER / NRL 11/18i2015



               person has the right to appeal an adverso decision through



                Sening Copyto Committed Percon                                         When Served - - Date and Time




Bun Date: 11ngn015 11:36:02
                                                           Page 2 of 2
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Bruce Rauner                                                                                                                 John Baldwin
  Governor                                                                                                                  Acting Director




                                        The lllinois Departnrent of Corrections
      1301 Concordia Court, P.O. Box 19277 . Springfield , lL 62794-9277 . (217) 558-2200 TDD: (800) 526-0844


 Offender

 Register#
                                                                                                    '^'' /7"
 Facility:
                                                                           '
 This is in response to your grievance received
                                                 "^      t h /lL         . This office has determined the issue will be addressed without
 a formal hearing. A review of the Grievance, Grievanc/OffilerlCAO response to the grievance has been conducted. For a
 grierrance that is direct review by the ARB, a review of the Grievance has been conducted.

                                   /.ZUi'Grievance nr^a"r,                                       4l,i-?                     ", J /7-%.
       yourissueregarding: Grievance         aateaz                                                                ari.ut
   oTransferdeniedbytheFacilityorTransfer"m:OCommiss,
  O oietary                                                                    O rrust Fund
  O    personal   property                                                     O
                                                                               O. Conditions (cell conditions,
                                                                                                   condition cleaning supplies)

  o Mairroom/pubrications                                                  Fm:*l1;"Yh,Efr31
  O    Assignment (ob, cell)
                                                                            O     Other

      Based on a review of all available information, this office has determined your grievance.to be:

  O   Affirmed,   Warden               is advised to provide   a       O   Denied as the facility is following the procedures
      written response of corective action to this office by               outlined in DR525.

                                                                       O   Denied as Cell AssignmenVHousing is consistent with
  O   Denied, in accordance with DR504F, this is an                        the Department's determination of the appropriate
      administrative decision. -                                           Operational capacity of each facility.

V Oeni"O, this office finds the issue was appropriately                O   Denied as procedures were followed in accordance with
-/ :-ddressed by the facility Administration.                              DR 420 for removal/denial of an offender fromlfor an
                                                                           assignment.
 O Denied in accordance with AD05.03.103A (Monetary
      Compensation for lnmate Assignments)                             MOenieO as this office finds  no violation of the offender's
                                                                   /     -dDbpro"".r
                                                                                       in accordance with DR504.80 and
 O    Denied, as the transfer denial by the facility/TCO on                DR504,30. This office is reasonably satisfied the
                       as reviewed in aqcordance with                      offender committed the offense cited in the report.
      transfer procedures and is an administrative decision'




FOR THE BOARD:




             Mission: To serue justice in lllinois and increase public safety by promoting positive chango in
                offender behavior, operating successful reentry programs, and reducing victimization.                                   )t

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Bruce Rauner                                                                  John Baldwin
  Gov6mbr             1J
                                -r                                           Acting Director




                                       The lllinois Department of Corrections
    1301 Concordia Court, P.O. Box 19277 . Springfield ,lL62794-9277 . (217) 558-2200 TDD: (800) 526-0844




                                                   June 8,2016


     Dennis Taylor, R68729
     Stateville Correctiona I Center
     P.O. Box 112
     Joliet,   lL 60434


                Re:       Freedom of lnformation Act Request #160605053

     Dear Mr. Taylor:

            This letter is in response to your request to the lllinois Department of Corrections for
     information pursuant to the lllinois Freedom of lnformation Act, 5 ILCS L4O(L, et seq.

             You have requested Stateville Correctional Center lnstitutional Directive 05.03.14 and
     Administrative Directive 05.03.14. The lllinois Department of Corrections does not maintain or possess
     records responsive to your requests.

              ln the event you view this response as a denial of your request, you have a right to have the
     denial reviewed by the Public Access Counselor (PAC) at the Office of the lllinois Attorney General. 5
     ILCS 140/9.5(a). You can file your request for review with the PAC to:


                          Public Access Counselor
                          Office of the Attorney General
                          500 South 2nd Street
                          Springfield, lllinois 62706.

             You also have the right to seek judicial review of your denial by filing a lawsuit in the state circuit
     court, pursuant to 5 ILCS L4O(LL.

              lf you choose to file a request for review with the PAC, you must do so within 60 calendar days
     of the date of this denial letter (5 ILCS 140/9.5(a)). Please note that you must include a copy of your
     original FOIA request and this denial letter when filing a request for review with the PAC.

                                                    Sincerely,
                                                    Lisa Weitekamp
                                                    Freedom of lnformation Officer


               Mission: To serve justice in lllinois and increase public safety by promoting positive change in
                  offender behavior, operating successfu/ reentry programs, and reducing victimization.

                                                         www.illinois.gov/idoc
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         lf you choose to file a request for review with the PAC, you must do so within 60 calendar days
of the date of this denial letter (5 ILCS 140/9.5(a)). Please note that you must include a copy of your
original FOIA request and this denial letter when filing a request for review with the PAC.

                                         Sincerely,
                                         Lisa Weitekamp
                                         Freedom of lnformation Officer




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                                 OFFICE OF TTM ATTORNEY GENERAL
                                                        STATE OF ILLINOIS

Lisa Madigan
ATI'ORNEY GENERAL


                                                              June 30,2016




Via electronic mail
Mr. Joel Diers
Legal Counsel
Illinois Department of Corrections
1301 Concordia Court
P.O. Box 19277
Springfi eld, Illinois 627 9 4
JOEL.DIERS @doc. illinois. gov

                  RE: FOIA Request for Review -2016PAC                                     42608; IDOC            #   160606063


Dear Mr. Diers:

                The Public Access Bureau has received the attached Request for Review of the
response by the Illinois Department of Corrections (IDOC) to a June 1,20t6,
                                                                             Freedom of
                                                                                      that
Information Act (FOIA) request submitted by Mr. Dennis Taylor. We have determined
further action is warranted.

                 On June 1,2016,Mr. Taylor submitted a FOIA request to IDOC seeking a copy
of Institutionai Directive 05.03.14 and Administrative Directive 05.03.l4,which he asserts
p.rtuin to IDOC rules and policies regarding weapon violations and staff assaults. On June 8,
                                                                                              to
 2O\6,IDOC responded byindicatingltut it did not maintain or possess any records responsive
the request. on June 24,2076,this office received Mr. Taylor',s Request for Review contesting
IDOC's response.

                As required under section 9.5(c) of FOIA (5 ILCS ia0l9.5(c) (West 2014)),
please provide a detailed explanation of the search IDOC performed to locate records
                                                                                         responsive
io Mr, Taylor's request. In your response, clarify if IDOC does possess any records regarding
IDOC and/or Stateville Correctional Center rules and policies concerning weapon violations
                                                                                                and
                                                                                    those records
staff assaults. If ID9C does possess responsive records and wishes to assert that
are exempt from disclosure, pkas" provide un-redacted copies of   the  records, for  our
                                                                                      section 7
confidential review, togetheiwith a written explanation that identifies the relevant
exemption(O (5 11CS lqOn (West 2014), as amended by Public        Acts99-298,    effective August




                                                                 ,   (217)782-1090
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                                                                                                                         l&lf
                                                                                                                     (217)782'7046
                                                                                                                                     F
         500 south Second Srreet, Springfield, lllinois 62706
          t00 West Randolph Street, Chi-cago, Illinois,6060l
                                                                 .   (312) 814-3000   ' TTY: (312)gl4-3314 ' (6lFax: 57q'4416
                                                                                                                          814-3806
               l oOl tract   hlain f-athnndali ilti'^;" 6?Onl ' /6l Rl 5?a'r'r400 ' TIY' /6l R\ 5'q-64O? ' Fav'       R\
      Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 49 of 54 PageID #:92




Mr. Joel Diers
June 30,2016
Page2



6,2075;99-346,effective January 1,2016) and provides a detailed legal and factual basis for the
application of the exemption(s). If you believe that other documents or information would help
ur-* *. review these iJsues, you may submit additional records or affrdavits with the requested
information.

                 This information must be submitted to our offtce within seven (7) business days
arter receipt of this letter. Undei.FOIA, "[t]he Public Access Corm-qelor shall forward a copy of
the answei to the person submitting the request for review, with any alleged confidential
information to which the request p-.tuirrs redacted from the copy. The requester may, but is not
required to, respond in writing[.]" 5 ILCS 140/9.5(d) (West 2014). If you claim that any
pr"tiol of your written response is confidential, please send two versions of your response
ietter: a complete copy for this office's confidential review and a redacted version suitable
for this office to forward to the requester.

                 If you have questions or would like to discuss this matter, you may contact me by
e-mail at sbamaby @atg.staL.il.us or by mail at the Chicago address listed on the bottom of the
first page of this letter. Thank you.


                                             Very truly yours,



                                            -,hn^^ 0^?& \'r'^^;^
                                            SHANNONBARNABY (J
                                             Assistant AttorneY General
                                             Public Access Bureau

Attachment

cc:     Mr. Dennis Taylor, N92228 (will receive letter only)
        Stateville Correctional Center
        P. O. Box 112
        Joliet,Illinois 60434




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         Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 50 of 54 PageID #:93

  ar,a
Bruce Rauner                                                                                                 John Baldwin
  Govemor                                                                                                    Acting Director




                                         The Illlnois Department of Corrections
    j301 Concordia Court, P.O. Box 19277 . Springifield, 1162794-9277'(2171558-2200 TDD: (800) 526484.4



                                                     JulY 1, 2016



     Ms. Shannon Barnaby
     Assistant Attorney General
     Office of the lllinois Attorney General
     100 W. Randolph Street, 13th Floor
     Chicago, lL 60601

     Re:             Requestfor Revlew 2016 PAC42608 (IDOC fl 160606063)

     Dear Ms. Barnaby:

             Plebse accept this as our response to the Request for Review submitted by Dennis Taylor, as
     described in your letter dated June 30, 2016. Mr. Taylor requested Administrative and lnstitutional
     Directive 05.03.141 regarding Weapon Violators/Staff Assaulters from the lllinois Department of
     Corrections ("tDOg'). I can confirm that IDOC dois not possess or maintain records corresponding to the
     numbers given by Mr. Taylor.


            .Upon receipt of the request from Mr. Taylor, the IDOC Freedom of lnformation Office contacted
     IDOC and Stateville Correctional Center Policy and Directives units and were informed that no policies
     exist under those numbers.

                 Some individual facilities maintain lnstitutional Directives regarding Weapons Violators and Staff
         Assaulters but, IDOC routinely denies them based on their relation to the security of a correctional
         facility.


                                                     JoelM. Diers
                                                     Freedom of Information Office




                 Mrssrbn: To serve justice  in lllinois and increase public safety by promoting positiva change in
                       offender behavior, operating successfu/ reenty programs, and reducing victimization.

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                                    OFFICE OF TI{E ATTORNEY GENERAL
                                                          STATE OF TLLINOIS

       Lisa Madigan
       ATTORNEY GENERAL



                                                               July 13,2016


      Irlr. Dennis Taylor, R68729
      Stateville Correctional Center
      P. O. Box 112
      Joliet, Illinois 60434

                          RE: FOIA Request for Review -20L6PAC 42608
      Dear Mr. Taylor:

                    The Public Access Bureau has received the enclosed response letter to your
      Request for Review from the Illinois Department of Corrections (IDOC).

                      You may, but are not required to, reply in writing to the public body's response.
      If you choose to reply, you must submit your reply to this office within seven (7) working days
      of your receipt of this letter. 5 ILCS 140/9.5(d) (West 2014). Please send a copy of your reply
      to Mr. Diers as well. You may contact me at the Chicago office listed below if you have any
      questions. Thank you.

                                                                   Very truly yours,


                                                                  .t)n^^^^"^B*'r\&'
                                                                  SHANNONBARNABY d
                                                                   Assistant Attorney General
                                                                   Public Access Bureau
      Enclosure

                 Via electronic mail
                 Mr. Joel Diers (will receive letter only)
                 Legal Counsel
                 Illinois Department of Corrections
                 l30l Concordia Court, P. O. Box 19277
                 Springfield, Illinois 62794
                j oel.diers@doc. illinois. gov




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                 500SouthSecondStreet,Springfield,IlIinois62706.(2l7)782.lo90.fiY:(2|7)7s5-277l.Fa<:(2|7).l82.7o46
                  100 West Randolph Street, Chicago, Illinois,6060l . (312) 814-3000 . TTY: (312)814-3374 ' Fa,r: (312) 814-3806
                       l00l East Main, Carbondale, Illinois 62901 . (618) 579-6400. TTY: (618) 529-6403. Fax (618) 529-6416
    Case: 1:17-cv-00441 Document #: 9 Filed: 01/19/17 Page 52 of 54 PageID #:95


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                              OFFICE OF TTM, ATTORNEY GENERAL
                                                       STATE OF ILLINOIS

 Lisa Madigan
 ATTORNEY GENERAL



                                                          October 18,2016




 Mr. Dennis Taylor, R68729
 Stateville Correctional Center
 P. O. Box 112
 Joliet, Illinois 60434

                  RE: FOIA Request for Review -2016 PAC 42608

 Dear Mr. Taylor:

                The Public Access Bureau has received your inquiry concerning the status of your
 Request for Review of the response by the Illinois Department of Corrections (IDOC) to your
 June 1, 21l6,Freedom of Information Act (FOIA) (5 ILCS 140 et. seq. (West 2014)) request.
 Your Request for Review is currently under consideration. Once we issue a determination, we
 will send a copy to you as well as to IDOC.

                You may contact me by mail at the Chicago address listed below if you have any
 further questions. Thark you.


                                                                  Very truly yours,


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                                                                 SrrAr.WON BARNABY                                     .Y
                                                                  Assistant Attorney            General                \
                                                                  Public Access Bureau




          500 South Second Street, Springfield, Illinois 62706 . (217) 782-1090 ' TTY:
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